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                                 EXHIBIT 3




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Supplements in the Time of COVID-19 - Health Professional



Dietary Supplements in the
Time of COVID-19
Fact Sheet for Health Professionals

Data are insu cient to support recommendations for or against the use of any
               ffi
vitamin, mineral, herb or other botanical, fatty acid, or other dietary supplement
ingredient to prevent or treat COVID-19.

Introduction

COVID-19, the disease caused by the novel severe acute respiratory syndrome
coronavirus 2 (SARS-CoV-2), emerged in 2019 and has infected over 230 million
people worldwide as of October 1, 2021 [1]. Common initial signs and symptoms
include cough, fever, fatigue, headache, muscle aches and pain, and diarrhea [2].
Some individuals with COVID-19 become severely ill, usually starting about 1 week
after symptom onset; severe COVID-19 often involves progressive respiratory failure
and may also result in life-threatening pneumonia, multiorgan failure, and death
[2,3]. In addition, thousands of individuals—possibly 10% to 75%—who have had
COVID-19 report symptoms of “long COVID” (including fatigue, muscle weakness,
sleep di culties, and cognitive dysfunction) for several months after the acute
        ffi
stage of illness has passed [4-7].

Currently, data are insu cient to support recommendations for or against the use
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of any vitamin, mineral, herb or other botanical, fatty acid, or other dietary
supplement ingredient to prevent or treat COVID-19. And by law, dietary
supplements are not allowed to be marketed as a treatment, prevention, or cure for
                                                                                      Ex. 3
                                                                                     Page 1
any disease;Case
             only8:21-cv-03112-TDC
                  drugs can legally Document
                                    make such1-3claims   [8]. Nevertheless,
                                                  Filed 12/06/21 Page 3 of 90sales of
dietary supplements marketed for immune health increased after the emergence of
COVID-19 because many people hoped that these products might provide some
protection from SARS-CoV-2 infection and, for those who develop COVID-19, help
reduce disease severity [9-12].

The immune system defends the body against pathogens that cause disease and is
comprised of innate responses, which are the rst line of defense, and adaptive




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responses, which become engaged later [13-15].

The innate immune system includes physical barriers, such as the skin and gut
epithelium, that help prevent pathogen entry. It also includes leukocytes (white
blood cells)—such as neutrophils, macrophages (which release cytokines), and
natural killer cells—that attempt to identify and eliminate foreign pathogens.
However, these components are nonspeci c, meaning that unlike the adaptive
                                            fi
immune system, they do not recognize and respond to speci c pathogens [13,14].




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The adaptive immune system consists of B lymphocytes (B cells) that secrete
antibodies into the blood and tissues (a process known as humoral immunity) and
T lymphocytes (T cells; a process known as cell-mediated immunity), both of which
are pathogen speci c [15]. The adaptive response takes several days or weeks to
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develop, but it generates immunological “memory”; as a result, a subsequent
exposure to the same pathogen leads to a vigorous and rapid immune response
[13,15]. Vaccinations target the adaptive immune system, protecting the body from
an exposure to the same pathogen in the future [14].

The body’s immune response to pathogens leads to in ammation, causing redness,
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swelling, heat, pain, and loss of tissue function [16]. In ammation helps eliminate
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the pathogen and initiate the healing process, but it is also a cause of symptoms
and severe pathologies [16,17]. For example, activation of CD8 T cells as part of the
adaptive immune response can increase in ammation and cause pulmonary
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damage. This process can lead to acute respiratory distress syndrome, which has
occurred in some patients with COVID-19 [17]. Other signs of in ammation,
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including elevated levels of C-reactive protein and interleukin-6, sometimes develop
in patients with severe COVID-19 [2]. Some patients with COVID-19 experience a
cytokine storm, a critical condition caused by excessive production of in ammatory
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                                                                                         Ex. 3
                                                                                        Page 2
cytokines, including tumor necrosisDocument
            Case 8:21-cv-03112-TDC  factor-alpha, interleukin-1
                                            1-3 Filed           beta,4and
                                                      12/06/21 Page    of 90interleukin-
6 [3,18]. This condition increases disease severity and risk of death, so tempering
the body’s in ammatory response is an important component of COVID-19


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management.

People require several vitamins and minerals—including vitamin C, vitamin D, and
zinc—for proper immune function, and clinical de ciencies of these nutrients can




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increase susceptibility to infections [14,19]. Other dietary supplement ingredients,
such as botanicals and probiotics, do not have essential roles in the body, but they
might affect immune function. However, measuring the impact on the immune
system of vitamins, minerals, and other dietary supplement ingredients is di cult




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because the immune system is a complex network of organs, tissues, and cells; no
single, straightforward measure of immune system function and resistance to
disease exists.

COVID-19 vaccines are safe and highly effective at reducing the risk of disease,
including the risk of severe illness [20,21]. Pharmacologic treatments are also
available, but no cure for COVID-19 exists. Thus, interest in dietary supplement
ingredients that might enhance immune function and reduce in ammation to help

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prevent COVID-19 or manage its signs and symptoms remains high. Many of these
ingredients have not been studied in people with COVID-19, but research suggests
that they might improve immune function and help prevent or reduce symptoms of
the common cold, in uenza, and other respiratory tract infections. Therefore, some
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scientists believe that they might hold promise for COVID-19, although the strength
of the evidence supporting these speculations varies widely. For example, many
studies have examined associations between serum or plasma concentrations of
vitamins or minerals and risk of COVID-19 infection or disease severity. However,
serum or plasma nutrient concentrations might not re ect body stores.
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Furthermore, the onset of disease can cause low (or sometimes high) nutrient
concentrations; it cannot be assumed that the nutrient concentrations observed in
these studies contributed to the onset of COVID-19 or its severity. In addition, many
clinical trials in patients with COVID-19 had small samples, were not randomized or
placebo-controlled, and measured multiple outcomes, complicating the
interpretation of their results.


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This fact sheet
            Casesummarizes    the state
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these dietary supplements. Ingredients are presented in alphabetical order.
Citations to published research and in-process clinical trials throughout the world
from the ClinicalTrials.gov database (https://clinicaltrials.gov/) are provided; unless
otherwise stated, these trials are being conducted in the United States. In addition,
this fact sheet brie y discusses interactions between dietary supplement
                       fl
ingredients and medications. However, especially for botanicals, this information is
often based on individual case reports and theoretical interactions derived from
animal studies, cellular assays, or other indirect evidence. In most cases, potential
interactions have not been adequately evaluated in clinical settings [22,23].

The content of this fact sheet is current as of the publication date, but because this
is a rapidly evolving area of research, additional evidence might have become
available since that time.

Andrographis

Andrographis paniculata, also known as Chuān Xīn Lián, is an herb that is native to
subtropical and Southeast Asia [24]. Its leaves and aerial parts are used in
traditional Ayurvedic, Chinese, and Thai medicine for relieving symptoms of the
common cold, in uenza, and other respiratory tract infections [25-28]. The
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purported active constituents of andrographis are believed to be andrographolide
and its derivatives, which are diterpene lactones that might have antiviral, anti-
in ammatory, and immune-stimulating effects [24,26,28-33].
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E cacy: Studies conducted before the emergence of COVID-19 suggest that
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andrographis supplementation might reduce the severity of respiratory tract
infections [26,27,34,35]. Because of these ndings, some scientists believe that
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andrographis could help treat the symptoms of COVID-19, but studies have not
thoroughly assessed use of this herb for this purpose [30,32,33,36].

A few in vitro studies suggest that andrographolide isolated from andrographis
might bind the main protease of SARS-CoV-2, thereby inhibiting its replication,
transcription, and host cell recognition [31,32,36]. In a small clinical trial in Thailand,
researchers examined the effects of 60 mg or 100 mg andrographis extract (called
Fah Talai Jone in Thailand), given 3 times per day in 12 people with mild to
moderate COVID-19 symptoms [37-39]. COVID-19 symptoms, especially cough,                   Ex. 3
                                                                                          Page 4
improved within
          Case a  few days after patients
                8:21-cv-03112-TDC Documentstarted taking
                                            1-3 Filed     the low
                                                      12/06/21    dose
                                                                Page 6 of(60
                                                                          90 mg)
andrographis, and all patients recovered after 3 weeks [40]. No information was
provided on the effects of the 100 mg andrographis dose. On the basis of these
 ndings, a larger placebo-controlled trial was conducted among 60 participants,
fi
and Thailand’s health ministry subsequently approved a pilot program to use Fah
Talai Jone for individuals aged 18 to 60 with minor symptoms within 72 hours of a
COVID-19 diagnosis [37,41]. One clinical trial
(https://clinicaltrials.gov/ct2/show/NCT04847518) in Tibilisi, Georgia is examining
whether a product called Kan-Jang® that contains andrographis and
Eleutherococcus senticosus (2 capsules, 3 times per day for a total daily dose of 90
to 120 mg of andrographolides) for 2 weeks reduces the severity of in ammatory




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symptoms (including headache, loss of smell, nasal congestion, cough, muscle
pain, and fever) in about 140 adults hospitalized with mild COVID-19 [42]. Another
clinical trial (https://clinicaltrials.gov/ct2/show/NCT05019326) in Thailand is comparing
the effects of andrographis (3 capsules, 3 times per day for a total daily dose of 180
mg andrographolide) with Boesenbergia rotunda extract for 5 days in 3,060 adults
with asymptomatic COVID-19 infection.

Safety: The safety of andrographis has not been well studied, but no safety
concerns have been reported when typical doses of the herb (340 to 1,200 mg/day)
have been used for short periods [27,28,43]. Clinical trials have found minor adverse
effects, including nausea, vomiting, vertigo, skin rashes, diarrhea, and fatigue
[26,28,34]. Allergic reactions might also occur [28,33]. Findings from some animal
studies suggest that andrographis might adversely affect fertility, so experts
recommend against its use by pregnant women and by men and women during the
preconception period [25,27,28].

According to animal and laboratory studies, andrographis might decrease blood
pressure and inhibit platelet aggregation, so it could interact with antihypertensive
and anticoagulant medications by enhancing their effects [43-45]. Because of its
potential immune-stimulating effects, andrographis might also reduce the
effectiveness of immunosuppressants [29,43]. Whether the potential
immunostimulatory effect of andrographis might worsen the cytokine storm
associated with COVID-19 is not known [33].

Echinacea                                                                              Ex. 3
                                                                                      Page 5
Echinacea, commonly    known as purple
           Case 8:21-cv-03112-TDC      cone1-3ower,
                                  Document      Filedis12/06/21
                                                        an herb Page
                                                                that grows
                                                                     7 of 90 in North




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America and Europe [46]. Although the genus Echinacea has many species, extracts
of E. purpurea, E. angustifolia, and E. pallida are the most frequently used in dietary
supplements. The echinacea supplements on the market in the United States often
contain extracts from multiple species and plant parts [22].

Echinacea contains volatile terpenes, polysaccharides, polyacetylenes, alkamides,
phenolic compounds, caffeic acid esters, and glycoproteins [22,46,47]. However,
echinacea’s purported active constituents are not well de ned [47], and the




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chemical composition of various echinacea species differs [22].

Echinacea might have antioxidant and antibacterial activities, stimulate monocytes
and natural killer cells, and inhibit viruses from binding to host cells [15,46]. It might
also reduce in ammation by inhibiting in ammatory cytokines [15]. Most studies of
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echinacea have assessed whether it helps prevent and treat the common cold and
other upper respiratory illnesses, but it has also been used in traditional medicine to
promote wound healing [46,47].

E cacy: Several studies suggest that echinacea offers limited bene ts for
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preventing the common cold [48,49], so some researchers have suggested that
echinacea might have similar effects on COVID-19 [15,33,50,51].

A preliminary in vitro study found that Echinaforce®, an E. purpurea preparation,
inactivated SARS-CoV-2 [52]. In a clinical trial in Iran, 100 adults (mean age 45–47
years) with suspected COVID-19 based on chest computed tomography (CT) scan
or x-ray and clinical symptoms who were not hospitalized received either echinacea
(species and dose not speci ed) plus ginger (Zingiber o cinale, dose not speci ed)
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and hydroxychloroquine for 7 days or hydroxychloroquine alone [53]. Coughing,
muscle pain, and shortness of breath were alleviated in 91 to 98% of individuals
who received the combination of echinacea, ginger, and hydroxychloroquine,
whereas only 69 to 79% of individuals who received hydroxychloroquine alone
experienced these bene ts. However, the combination treatment did not reduce
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severity of fever or sore throat or the rate of hospitalization for COVID-19.

According to ClinicalTrials.gov (https://clinicaltrials.gov/ct2/results?
recrs=&cond=&term=echinacea&cntry=&state=&city=&dist=), a couple of clinical trials are
assessing the effects of echinacea on COVID-19. For example, one trial                     Ex. 3
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               Case 8:21-cv-03112-TDC Document 1-3inFiled
(https://clinicaltrials.gov/ct2/show/NCT04999098)    Bulgaria  will examine
                                                          12/06/21            whether
                                                                    Page 8 of 90
Echinaforce® supplements at varying doses reduces SARS-CoV-2 viral shedding
and transmission in about 75 children and adults aged 12 to 75 with COVID-19.

Because echinacea might have immunostimulatory effects, some investigators
have suggested that it might worsen the cytokine storm that can develop in patients
with COVID-19 [50]. However, limited evidence from clinical trials suggests that the
use of echinacea decreases—not increases—levels of proin ammatory cytokines




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[50].

Safety: Echinacea appears to be safe and has few reported adverse effects, the
most common of which are gastrointestinal upset and skin rashes [47,54]. Isolated
reports of elevated liver enzymes and liver injury have been associated with its use,
but these events could have been caused by a contaminant or the product’s
preparation. In rare cases, echinacea can cause allergic reactions [47].

The safety of echinacea during pregnancy is not known, so experts recommend
against the use of echinacea supplements by pregnant women [55].

Echinacea might interact with several medications. For example, echinacea might
increase cytochrome P450 activity, thereby reducing levels of some drugs
metabolized by these enzymes [56]. In addition, echinacea might reduce the
effectiveness of immunosuppressants due to its potential immunostimulatory
activity [57].

Elderberry (European Elder)

Elder berry (usually written “elderberry”) is the fruit of a small deciduous tree,
Sambucus nigra (also known as European elder or black elder), that grows in North
America, Europe, and parts of Africa and Asia [58,59]. Elderberry contains many
compounds— including anthocyanins, avonols, and phenolic acids—that might
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have antioxidant, anti-in ammatory, antiviral, antimicrobial, and immune-stimulating
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effects [15,59-63]. Studies of the effects of elderberry have primarily used
elderberry extracts, not the berries themselves [59].

E cacy: Sales of elderberry supplements more than doubled shortly after the
 ffi
COVID-19 pandemic began in the United States [64], and some researchers have
                                                                                         Ex. 3
                                                                                        Page 7
recommended
         Casestudying  the use of Document
              8:21-cv-03112-TDC   elderberry1-3
                                              to treat COVID-19
                                                 Filed 12/06/21  symptoms
                                                                Page 9 of 90
[15,61,65,66].

The interest in elderberry is based on preliminary laboratory and animal research
suggesting that constituents of elderberry might help prevent upper respiratory
tract infections by inhibiting viruses from binding to host cells and by stimulating
the immune system [59]. Elderberry’s effects on the common cold and in uenza




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have been examined in a few small clinical trials with promising results [60]. A
systematic review of ve clinical trials used various elderberry formulations and
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doses to prevent or treat viral respiratory illnesses. The authors found that
elderberry supplementation for 2 to 16 days might reduce the severity and duration
of the common cold and the duration of u but does not appear to reduce the risk

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of the common cold [67]. However, the authors noted that the evidence is uncertain
because the studies were small, heterogeneous, and of poor quality.

No clinical trials have evaluated the use of elderberry to prevent or treat COVID-19.
ClinicalTrials.gov lists one trial (https://clinicaltrials.gov/ct2/show/NCT04590274) that
will examine the ability of a combination of 600 milligrams (mg) elderberry extract
with hydroxychloroquine, azithromycin, 50 mg zinc, 3,000 mg vitamin C, 125 mcg
(5,000 IU) vitamin D, 1,200 mg N-acetylcysteine, and 600 mg quercetin to prevent or
treat COVID-19 in about 5,000 children and adults [68]. However, this trial has not
yet begun to recruit participants, so whether it will move forward is not clear. At this
time, no other trials involving elderberry for COVID-19 are planned or in progress,
according to ClinicalTrials.gov (https://clinicaltrials.gov/ct2/results?
recrs=&cond=Covid19&term=elderberry&cntry=&state=&city=&dist=).

Safety: Elderberry owers and ripe fruit appear to be safe for consumption, but the
                    fl
bark, leaves, seeds, and raw or unripe fruit of S. nigra contain a cyanogenic
glycoside that is potentially toxic and can cause nausea, vomiting, diarrhea,
dehydration due to diuresis, and cyanide poisoning [59,64,69]. The heat from
cooking destroys this toxin, so cooked elderberry fruit and properly processed
commercial products do not pose this safety concern [15,59,61,64,69]. Elderberry
might affect insulin and glucose metabolism, so according to experts, people with
diabetes should use it with caution [64]. The safety of elderberry during pregnancy
is not known, so experts recommend against the use of elderberry supplements by
pregnant women [55,59].
                                                                                         Ex. 3
                                                                                        Page 8
Recent analyses suggest that some
          Case 8:21-cv-03112-TDC   elderberry
                                 Document 1-3 supplements
                                               Filed 12/06/21 have
                                                               Page been  adulterated
                                                                    10 of 90
because they are highly diluted or contain a cheaper ingredient, such as black rice
extract, instead of elderberry [58]. This adulteration might be due to the surge in
popularity of these products, which could have created a supply shortage.

Due to its potential immunostimulatory activity, elderberry might reduce the
effectiveness of immunosuppressant medications [70].

Ginseng

Ginseng is the common name of several species of the genus Panax, most
commonly Panax ginseng (also called Asian ginseng or Korean ginseng) and Panax
quinquefolius (American ginseng) [71,72]. Asian ginseng grows mainly in China and
Korea, whereas American ginseng grows in the United States and Canada [71].

Triterpene glycosides, also known as ginsenosides, are some of the main purported
active constituents in ginseng [71,73]. Although ginseng contains numerous
ginsenosides, research has focused on the Rb1 ginsenoside and compound K, a
bioactive substance formed when the intestinal microbiota metabolize
ginsenosides [71,73]. Both the product preparation method and variations of
intestinal microbiota among individuals can affect the type and quantity of
ginseng’s bioactive compounds in the body [73].

Animal and laboratory studies suggest that ginseng stimulates B-lymphocyte
proliferation and increases production of some interleukins and interferon-gamma
[71]; these cytokines affect immune activation and modulation [13]. Ginseng might
also inhibit virus replication and have anti-in ammatory activity. However, whether
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ginseng has a clinically meaningful effect on immune function in humans is not
clear [71,74].

Another botanical, eleuthero (Eleutherococus senticosus), is sometimes confused
with true ginseng. Eleuthero used to be called Siberian ginseng, but it comes from
the Eleutherococcus genus of plants, not the Panax genus, and it does not contain
ginsenosides [71].

E cacy: Several clinical trials have examined whether ginseng helps prevent upper
 ffi
respiratory tract infections, such as the common cold and u, but results have been
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                                                                                       Ex. 3
                                                                                      Page 9
mixed and none of the trials addressed
          Case 8:21-cv-03112-TDC       COVID-19
                                  Document        [73,75].
                                           1-3 Filed       Based
                                                     12/06/21    on11this
                                                              Page        limited
                                                                      of 90
evidence of ginseng’s effects on immune function and treatment of upper
respiratory tract infections, some researchers recommend studying the use of
ginseng to prevent or treat COVID-19 [76,77]. One clinical trial
(https://clinicaltrials.gov/ct2/show/NCT04544605) in Hong Kong aims to determine
whether ginseng and other ingredients, as part of individually tailored traditional
Chinese medicine, will help about 150 children and adults with COVID-19 recover
more quickly after hospital discharge [78]. Another clinical trial
(https://clinicaltrials.gov/ct2/show/NCT05055427) will examine whether a combination
product containing ginseng for 10 days reduces the duration and severity of
symptoms in 300 adults with mild to moderate COVID-19.

Safety: Ginseng appears to be safe. Most of its adverse effects, including
headache, sleep di culty, and gastrointestinal symptoms, are minor [73-75].
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However, doses of more than 2.5 g/day might cause insomnia, tachyarrhythmias,
hypertension, and nervousness [71,73].

A few case reports of vaginal bleeding and mastalgia (breast pain) in the 1970s and
1980s raised concerns about the safety of ginseng; some scientists concluded that
ginseng has estrogenic effects [79-82]. However, one of these case reports involved
use of “Rumanian ginseng” [81], and whether this was true ginseng is not clear. In
addition, eleuthero was often referred to, incorrectly, as ginseng at that time
because it was called “Siberian ginseng.” Nevertheless, some experts caution that
ginseng might not be safe for use during pregnancy [73,83,84].

Ginseng might interact with many medications. For example, it might increase the
risk of hypoglycemia if taken with antidiabetes medications, increase the risk of
adverse effects if taken with stimulants, and reduce the effectiveness of
immunosuppressants [84,85].

Magnesium

Magnesium is an essential mineral that is present in many foods, including green
leafy vegetables, nuts, seeds, and whole grains. The Recommended Dietary
Allowance (RDA; average daily level of intake su cient to meet the nutrient
                                                 ffi
requirement of 97–98% healthy individuals) ranges from 30 to 410 mg for infants
and children, depending on age, and from 310 to 420 mg for adults [86].         Ex. 3
                                                                                      Page 10
MagnesiumCase
          is a 8:21-cv-03112-TDC
               co-factor for over Document
                                  600 enzymatic   reactions
                                           1-3 Filed 12/06/21and plays
                                                              Page 12 ofa90
                                                                          role in both
innate and adaptive immunity, as well as blood pressure regulation and normal
heart rhythm [14,87-90]. Magnesium also has antithrombotic and bronchodilation
effects and is required for the activation of vitamin D [87,90-94]. Because of these
effects in the body, magnesium supplementation may be bene cial for people with




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some respiratory disorders, such as asthma and pneumonia [95,96].

Healthy people do not routinely develop overt signs of magnesium de ciency, but




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many people do not consume recommended amounts of magnesium [88,97]. Low
magnesium status is associated with decreased immune cell activity, increased
oxidative stress, and increased in ammation, including increased levels of some
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in ammatory cytokines, such as interleukin-6 [87,91,98-101]. Low magnesium
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intakes or status are also associated with hypertension, impaired pulmonary
function, cardiovascular disease, type 2 diabetes, and obesity [88,94,102]. These
conditions are associated with poorer COVID-19 outcomes.

E cacy: Data are insu cient to support a recommendation for or against the use
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                       ffi
of magnesium supplements to prevent or treat COVID-19. However, many
researchers believe that ensuring adequate magnesium status is important in the
management of COVID-19 because of magnesium’s effects on immunity,
in ammation, and the cardiovascular system [87,90-92,94,95,98,99,103-106].
       fl
A few studies have found that people who have COVID-19 develop dysmagnesemia
(abnormally low or high blood levels of magnesium) [107-109]. For example, in an
analysis of serum magnesium levels of 300 patients (mean age 66.7 years)
admitted to the hospital with COVID-19 in France, 48% had abnormally low
magnesium levels (less than 0.75 mmol/L) and 9.6% had abnormally high
magnesium levels (0.95 mmol/L or higher) [109]. In addition, an observational study
in Iran among 459 patients with COVID-19 (mean age 61.8 years) found that those
who died from the disease had lower magnesium levels than those who survived,
although the mean magnesium levels for both groups were within the normal range
[107]. However, hypomagnesemia is common in critically ill patients, regardless of
their COVID-19 status [94]. Furthermore, renal failure, other health conditions, and
use of certain medications, which might apply to many people with COVID-19, can
also cause both hypomagnesemia and hypermagnesemia [110]. Finally, serum
magnesium levels might not re ect total body magnesium stores, and
                                                                                      Ex. 3
                                fl
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hypoalbuminemia  might cause spuriously
         Case 8:21-cv-03112-TDC Documentlow
                                         1-3 magnesium
                                              Filed 12/06/21levels
                                                               Pagebecause
                                                                    13 of 90 about
25% of magnesium is bound to albumin [88,111]. Therefore, the presence of
dysmagnesemia among patients with COVID-19 does not necessarily mean that
magnesium intakes affect the risk of the disease or its severity. And like other
critical illnesses, COVID-19 might cause dysmagnesemia.

A few observational studies have examined the effects of magnesium
supplementation in patients with COVID-19. In a retrospective study in Singapore
among 43 hospitalized patients aged 50 years or older with COVID-19, those who
received daily supplementation with 150 mg magnesium, 1,000 IU (25 mcg) vitamin
D3, and 500 mcg vitamin B12 for a median of 5 days starting within the rst day of




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hospitalization for most patients were less likely to need oxygen therapy, intensive
care support, or both than those who did not receive the supplementation [93].

Another small study in Serbia in 5 hospitalized patients with COVID-19 (mean age
39.6 years), di culty breathing, and oxygen saturation at or below 95% found that
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taking a supplement providing 200 mg magnesium, 1,200 mg potassium, 50 mg
zinc, and 1,000 mg citric acid every 4 hours for 48 hours increased oxygen
saturation by a mean of 3.6 points [112]. However, with studies that use
combination treatments, the potential contribution of one component is impossible
to determine.

No reports on clinical trials of magnesium supplementation in patients with COVID-
19 have been published, and only a few in-process trials
(https://clinicaltrials.gov/ct2/results?
cond=Covid19&term=magnesium+&cntry=&state=&city=&dist= ) are examining the use of
combinations of magnesium with other ingredients in patients with COVID-19. For
example, one trial (https://clinicaltrials.gov/ct2/show/NCT04507867 ) in Mexico is
investigating whether a nutritional supplement containing 400 mg magnesium,
other vitamins and minerals, omega-3 fatty acids, and other ingredients twice daily
for 5 days reduces complications in about 240 hospitalized adults with
comorbidities who have COVID-19 [113].

Safety: Magnesium in foods is considered safe at any intake. Supplemental
magnesium from dietary supplements or medications that contain magnesium,
such as some laxatives, is safe at intakes up to 65 to 350 mg/day for children,
                                                                                       Ex. 3
                                                                                     Page 12
depending on age,
          Case    and up to 350 mg/day
               8:21-cv-03112-TDC       for1-3adults
                                 Document      Filed[86]. These
                                                     12/06/21   upper
                                                              Page 14 oflimits,
                                                                          90
however, do not apply to individuals receiving magnesium treatment under the care
or a physician. Intakes that are higher than the upper limits can cause diarrhea,
nausea, and abdominal cramping. Magnesium toxicity, which usually develops after
serum concentrations exceed 1.74–2.61 mmol/L, can cause hypotension, nausea,
vomiting, facial ushing, urine retention, ileus, depression, and lethargy, and patients
                 fl
can ultimately develop muscle weakness, di culty breathing, extreme hypotension,




                                               ffi
irregular heartbeat, and cardiac arrest or even die.

Magnesium supplementation can interact with several medications. For example, it
can decrease the absorption of bisphosphonates and form insoluble complexes
with antibiotics. In addition, the use of loop diuretics, thiazide diuretics or proton
pump inhibitors can deplete magnesium levels [114-117].

More information on magnesium is available in the ODS health professional fact
sheet on magnesium.

Melatonin

Melatonin is a hormone produced by the pineal gland in the brain, mainly during the
night, that helps regulate circadian rhythms [118,119]. Its levels decrease with aging
[119]. Most melatonin supplementation studies have evaluated its ability to control
sleep and wake cycles, promote sleep, and reduce jet lag [119]. Studies have also
examined the use of melatonin supplements for reducing blood pressure [120].

Laboratory and animal studies suggest that melatonin enhances immune response
by increasing the proliferation and maturation of natural killer cells, T and B
lymphocytes, granulocytes, and monocytes [30,121,122]. Melatonin also appears to
have anti-in ammatory and antioxidant effects [30,118,119,121-123]. However,
            fl
whether these properties have a clinically signi cant effect on immunity in humans
                                                     fi
is not clear. Melatonin supplementation also appears to improve some markers of
oxidative stress and cardio-metabolic risk in individuals with type 2 diabetes and
coronary heart disease [124].

E cacy: No evidence shows that melatonin helps prevent or treat COVID-19.
 ffi
However, some researchers recommend studying melatonin’s effects on COVID-19

                                                                                           Ex. 3
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because ofCase
          its reported  anti-in ammatory,
               8:21-cv-03112-TDC  Documentantioxidant,  and immune-enhancing
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                                      fl
properties [30,121-123,125].

One study found that among 26,779 people tested for COVID-19, those who
reported using melatonin supplements were less likely to have the disease [126]. A
small clinical trial in Mexico examined the effects of 50 mg melatonin every 12
hours for 5 days plus the drug pentoxifylline in 22 hospitalized adults (mean age
57.9 years) with pneumonia that resulted from COVID-19 [127]. Another group of 22
patients received pentoxifylline alone. Patients who received melatonin and
pentoxifylline had a signi cantly lower lipid peroxidation index (a measure of
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oxidative stress) than at baseline, whereas those who received pentoxifylline alone
did not. Both treatments signi cantly increased nitrite levels (suggesting higher
                                 fi
oxygen levels) from baseline values and reduced levels of the in ammatory marker




                                                                      fl
C-reactive protein. Neither treatment affected total antioxidant capacity or levels of
the in ammatory markers interleukin-6 and procalcitonin.
      fl
Other clinical trial evidence suggests that melatonin might help attenuate cytokine
levels in people with diabetes, multiple sclerosis, and other health conditions [122].
Therefore, some researchers believe that melatonin supplements might help
modulate the cytokine storm that can develop in COVID-19 [122], but studies have
not tested this hypothesis.

According to ClinicalTrials.gov (https://clinicaltrials.gov/ct2/results?
recrs=&cond=Covid19&term=melatonin&cntry=&state=&city=&dist=), several other trials
are underway in people with COVID-19, including a small trial
(https://clinicaltrials.gov/ct2/show/NCT04474483) examining the effects of 10 mg
melatonin supplementation three times daily for 14 days in about 30 adults aged 18
years and older with COVID-19 who are not hospitalized [128]. Another trial
(https://clinicaltrials.gov/ct2/show/NCT04530539) is investigating the effects of 10 mg
melatonin plus 1,000 mg vitamin C daily on the symptoms and outcomes of about
150 adults aged 50 years and older with COVID-19 who have not been hospitalized
[129].

Safety: Typical doses of 1–10 mg/day melatonin appear to be safe for short-term
use [30,130]. Reported side effects, which are usually minor, include dizziness,
headache, nausea, upset stomach, rash, and sleepiness [119,130]. However, some
                                                                                      Ex. 3
                                                                                    Page 14
reports have linked
           Case      high blood levels
                 8:21-cv-03112-TDC     of melatonin
                                    Document         with
                                             1-3 Filed    delayed
                                                       12/06/21   puberty
                                                                Page        and
                                                                     16 of 90
hypogonadism [119].

Studies have not evaluated melatonin supplementation during pregnancy and
breastfeeding, but some research suggests that these supplements might inhibit
ovarian function [131]. Therefore, some experts recommend that women who are
pregnant or breastfeeding avoid taking melatonin [130].

Melatonin might interact with several medications. For example, melatonin might
have anticoagulant effects, so it might increase the risk of bleeding if used with
anticoagulants. It also might reduce the effects of both anticonvulsants and
immunosuppressants [132-134].

N-acetylcysteine

N-acetylcysteine (NAC) is a derivative of the amino acid cysteine. It is an
antioxidant and increases glutathione levels in the body [135,136]. NAC has
mucolytic activity, so it helps reduce respiratory mucus levels [135,137]. Laboratory
research suggests that NAC might affect immune system function and suppress
viral replication [137]. NAC also decreases levels of interleukin-6 and has other anti-
in ammatory effects [135,136].
       fl
Much of the research on NAC has used an inhaled, liquid form of this compound.
This form—which is classi ed as a drug, not a dietary supplement—is approved by
                             fi
the U.S. Food and Drug Administration (FDA) as a mucolytic agent and for
decreasing respiratory secretion viscosity [138]. Products containing NAC are also
sold as dietary supplements [139].

E cacy: Data are insu cient to support a recommendation for or against the use
 ffi
                       ffi
of NAC supplements to prevent or treat COVID-19. However, studies have evaluated
the use of oral NAC to treat bronchopulmonary diseases, such as bronchitis and
chronic obstructive pulmonary disease (COPD) with some promising results in
reducing numbers of episodes and symptom severity [140,141].

The results from two studies suggest that NAC might bene t patients with COVID-
                                                             fi
19. In a retrospective study in Greece of 82 patients (mean age 61–64 years)
hospitalized with moderate or severe COVID-19 pneumonia, 600 mg NAC twice
                                                                                       Ex. 3
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daily for 14Case
            days8:21-cv-03112-TDC
                 in addition to standard of care
                                   Document      reduced
                                            1-3 Filed     the risk
                                                      12/06/21     of17
                                                                Page  progression
                                                                        of 90     to
severe respiratory failure with the need for mechanical ventilation [142]. NAC also
reduced 14- and 28-day mortality rates; at 14 days, 10 of 40 patients in the control
group and 0 of 42 in the NAC group had died, and 12 of the patients in the control
group and 2 in the NAC group had died at 28 days.

A small clinical trial in Mexico examined the effects of 600 mg NAC every 12 hours
for 5 days plus the drug pentoxifylline in 22 hospitalized adults (mean age 57.9
years) with pneumonia that resulted from COVID-19 [127]. Another group of 22
patients received pentoxifylline alone. Patients who received NAC and pentoxifylline
had a signi cantly lower lipid peroxidation index (a measure of oxidative stress) as
           fi
well as lower levels of the in ammatory markers interleukin-6 and procalcitonin
                              fl
than at baseline, whereas those who received pentoxifylline alone did not. NAC plus
pentoxifylline also signi cantly increased total antioxidant capacity, whereas
                         fi
pentoxifylline alone did not. Both treatments signi cantly reduced levels of the

                                                     fi
in ammatory marker C-reactive protein and increased plasma nitrite levels
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(suggesting higher oxygen levels).

A clinical trial in Brazil examined the effects of intravenous NAC (which is classi ed




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as a drug) in 135 hospitalized patients (median age 58–59 years) with con rmed or




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suspected COVID-19 [143]. Patients received either 21 g NAC, administered
intravenously over 20 hours, or placebo, in addition to standard of care. NAC had no
effect on the need for or duration of mechanical ventilation or admission to the
intensive care unit (ICU), time in the ICU, or mortality.

Because of these ndings; NAC’s potential antioxidant, anti-in ammatory, and
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antiviral effects; and its mucolytic activity, some researchers believe that using NAC
as an adjuvant treatment might improve outcomes in patients with COVID-19 [135-
137]. Several additional clinical trials (https://clinicaltrials.gov/ct2/results?
recrs=&cond=Covid19&term=nac&cntry=&state=&city=&dist=) are examining this
possibility. For example, one trial (https://clinicaltrials.gov/ct2/show/NCT04545008) will
evaluate the effects of 600, 1,200 or 1,800 mg NAC three times daily with or without
the drug famotidine for 3 months in 42 adults who have COVID-19 and are not
hospitalized [144]. Another trial (https://clinicaltrials.gov/ct2/show/NCT04703036) is
examining whether NAC combined with glycine for 2 weeks improves outcomes in
about 64 hospitalized adults aged 55 to 85 years who have COVID-19 [145].
                                                                                             Ex. 3
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Safety: As an FDA-approved
           Case               drug, Document
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                                                    le of NAC has
                                                        12/06/21   been
                                                                 Page    evaluated
                                                                      18 of 90




                                                            fi
[138]. Reported side effects of oral NAC include nausea, vomiting, abdominal pain,
diarrhea, indigestion, and epigastric discomfort [141]. No safety concerns have
been reported for products labeled as dietary supplements that contain NAC.

NAC might have anticoagulant effects and might reduce blood pressure so it could
have additive effects if taken with anticoagulants and antihypertensive medications
[146]. The combination of NAC and nitroglycerine (a medication used to treat
angina) can cause hypotension and severe headaches [147,148].

Omega-3 fatty acids

Omega-3 fatty acids (omega-3s) are polyunsaturated fatty acids that are present in
certain foods, such as axseed and fatty sh, as well as dietary supplements, such
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as those containing sh oil. Several different omega-3s exist, including alpha
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linolenic acid (ALA), but most scienti c research focuses on the long-chain omega-
                                        fi
3s, eicosapentaenoic acid (EPA) and docosahexaenoic acid (DHA). The main food
sources of EPA and DHA are fatty sh and sh oil.
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The Food and Nutrition Board (FNB) of the National Academies of Sciences,
Engineering, and Medicine established an Adequate Intake
(https://ods.od.nih.gov/factsheets/Omega3FattyAcids-HealthProfessional/#h2) (AI; intake
assumed to ensure nutritional adequacy) for omega-3s that ranges from 0.5 to 1.6
g per day for infants and children, depending on age, and from 1.1 to 1.6 g per day
for adults [149]. The FNB has not established intake recommendations for EPA and
DHA speci cally because they are not essential nutrients; only ALA, which our
           fi
bodies cannot synthesize, is essential. Our bodies can then convert ALA into EPA
and DHA.

Omega-3s play important roles as components of the phospholipids that form the
structures of cell membranes [149]. Omega-3s also form eicosanoids; these
signaling molecules affect the body’s cardiovascular, pulmonary, immune, and
endocrine systems [149,150]. Omega-6 fatty acids, the other major class of
polyunsaturated fatty acids, also form eicosanoids, and these eicosanoids are
generally more potent mediators of in ammation, vasoconstriction, and platelet
                                             fl
aggregation than those made from omega-3s. Thus, higher concentrations of
                                                                                       Ex. 3
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omega-3s than
          Case of omega-6s tip theDocument
               8:21-cv-03112-TDC   eicosanoid
                                           1-3 balance   toward
                                               Filed 12/06/21   less
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activity [151,152].

Higher intakes and blood levels of EPA and DHA are associated with lower levels of
in ammatory cytokines [151,153]. Omega-3s might also affect immune function by
       fl
upregulating the activity of macrophages, neutrophils, T cells, B cells, natural killer
cells, and other immune cells [14,150,154].

A de ciency of omega-3s can cause rough, scaly skin and dermatitis [149].
                  fi
However, researchers have not identi ed cut-off concentrations of DHA or EPA



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below which functional endpoints, such as for visual or neural function or for
immune response, are impaired. Almost everyone in the United States obtains
su cient amounts of omega-3s to avoid a de ciency, but many people might
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bene t from higher intakes of EPA and DHA, particularly to maintain or improve
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cardiovascular health [155].

E cacy: Whether higher intakes or blood levels of omega-3s reduce the risk or
 ffi
severity of COVID-19 is not known. However, self-reported use of omega-3
supplements (dose not reported) more than three times per week for at least 3
months among 372,720 U.K. residents aged 16 to 90 years was associated with a
12% lower risk of SARS-CoV-2 infection after adjustment for potential confounders
[156]. Findings were similar for 45,757 individuals in the United States and for
27,373 participants in Sweden.

Because of these ndings and the potential anti-in ammatory and immune-
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                                                       fl
stimulating effects of omega-3s, several researchers believe that omega-3s might
bene t patients with COVID-19 [14,90,100,151,153,157-160]. An analysis of red
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blood cell levels of EPA plus DHA among 100 hospitalized patients with COVID-19
(mean age 72.5 years) did not nd a difference in the risk of death among quartiles
                                      fi
of EPA plus DHA levels [153]. In a clinical trial in Iran, 42 of 128 critically ill patients
with COVID-19 (mean age 64 to 66 years) received a 1,000 mg omega-3 supplement
containing 400 mg EPA and 200 mg DHA for 14 days [161]. Patients receiving the
supplement had a signi cantly higher 1-month survival rate compared with those
                                 fi
who were not supplemented. The omega-3 supplement also improved several
measures of respiratory and renal function, including arterial pH, blood urea

                                                                                          Ex. 3
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nitrogen, and creatinine
           Case          levels, but Document
                8:21-cv-03112-TDC    it did not1-3
                                                affect  other
                                                    Filed     measures
                                                          12/06/21       including
                                                                   Page 20 of 90   oxygen
saturation or white blood cell count.

A few other clinical trials (https://clinicaltrials.gov/ct2/results?
recrs=&cond=covid19&term=omega-3&cntry=&state=&city=&dist=) are examining whether
omega-3 supplements help reduce the risk of COVID-19 or help lower levels of
in ammation. For example, one trial (https://clinicaltrials.gov/ct2/show/NCT04483271)
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in about 100 healthy adults aged 30 to 66 years in Jordan is investigating whether a
wild salmon and sh oil complex providing 300 mg of omega-3s daily for 2 months
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affects levels of interleukin-1 beta, interleukin-6, and tumor necrosis factor; these
cytokines are involved in the cytokine storm [162]. Another clinical trial
(https://clinicaltrials.gov/ct2/show/NCT04609423) in Norway is examining whether a
daily cod liver oil supplement providing a total of 1,200 mg of long-chain omega-3s
(mainly EPA and DHA) for 6 months reduces the risk of developing COVID-19 and
reduces the severity of disease in about 80,000 healthy adults aged 18 to 75 years
[163].

Safety: The FNB did not establish a Tolerable Upper Intake Level (UL; maximum
daily intake unlikely to cause adverse health effects) for omega-3s, although it
noted that high doses of DHA and/or EPA (900 mg/day EPA plus 600 mg/day DHA
or more for several weeks) might reduce immune function by suppressing
in ammatory responses [149].
  fl
Doses of 2–15 g/day EPA and/or DHA might also increase bleeding time by
reducing platelet aggregation [149]. However, according to the European Food
Safety Authority (EFSA), long-term consumption of EPA and DHA supplements at
combined doses of up to about 5 g/day appears to be safe for adults [164]. EFSA
noted that these doses have not been shown to cause bleeding problems or affect
immune function, glucose homeostasis, or lipid peroxidation. Similarly, the FDA has
concluded that dietary supplements providing no more than 5 g/day EPA and DHA
are safe when used as recommended [165]

Commonly reported side effects of omega-3 supplements—including unpleasant
taste, bad breath, heartburn, nausea, gastrointestinal discomfort, diarrhea,
headache, and odoriferous sweat—are usually mild [166,167]. Because of their
antiplatelet effects at high doses, omega-3s might interact with anticoagulants
                                                                                       Ex. 3
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[168]. However,
          Case according   to the FDA-approved
                8:21-cv-03112-TDC  Document 1-3 package    inserts
                                                Filed 12/06/21     for21omega-3
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pharmaceutical preparations, studies with omega-3s have not found that these
medications result in “clinically signi cant bleeding episodes” [169]. Omega-3s




                                     fi
might also interact with other medications. For example, omega-3s might increase
the risk of hypotension if taken with antihypertensive agents and might increase
levels of cyclosporine (an immunosuppressant drug) [170-172].

More information on omega-3s is available in the ODS health professional fact
sheet on omega-3s.

Probiotics

Probiotics are live microorganisms that confer a health bene t on the host when




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administered in adequate amounts [173]. They include certain bacteria (e.g.,
Lactobacillus acidophilus, Lactobacillus rhamnosus, and Bi dobacterium longum)




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and yeasts (e.g., Saccharomyces boulardii). Probiotics are naturally present in some
fermented foods, added to some food products, and available as dietary
supplements.

Probiotics are identi ed by their strain, which includes the genus, species,
                     fi
subspecies (if applicable), and an alphanumeric strain designation [174]. Their
amounts are measured in colony-forming units (CFUs), which indicate the number
of viable cells. Common amounts used are 1 x 109 (1 billion CFU; commonly
designated as 109 CFU) and 1 x 1010 (10 billion CFU or 1010 CFU).

Probiotics act mainly in the gastrointestinal tract [17]. They might improve immune
function in several ways, including enhancing gut barrier function, increasing
immunoglobulin production, inhibiting viral replication, and enhancing the
phagocytic activity of white blood cells. However, the mechanisms of their potential
effects on immune function are unclear [17,175,176]. In addition, research ndings
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for one probiotic strain cannot be extrapolated to others [17,177].

E cacy: Several systematic reviews and meta-analyses published before the
 ffi
emergence of COVID-19 evaluated probiotic use to prevent or treat respiratory tract
infections in children and adults. All of these studies found that probiotics have
bene cial effects on some, but not all, outcomes [176,178-181]. Several studies
       fi
have also suggested that probiotics improve outcomes in patients who have
                                                                                       Ex. 3
                                                                                     Page 20
ventilator-associated  pneumonia and
            Case 8:21-cv-03112-TDC    other 1-3
                                   Document infections, although
                                                Filed 12/06/21   the22evidence
                                                               Page    of 90   is of
low quality and high heterogeneity [182,183]. In addition, self-reported use of
probiotic supplements more than three times per week for at least 3 months among
372,720 U.K. residents aged 16 to 90 years was associated with a 14% lower risk of
SARS-CoV-2 infection after adjustment for potential confounders [156]. Findings
were similar for 45,757 individuals in the United States and for 27,373 participants
in Sweden.

Probiotics might also help reduce in ammation. A meta-analysis of 42 randomized




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clinical trials in 2,258 participants found that probiotic supplementation with
lactobacillus, bi dobacteria, saccharomyces, or combinations of strains for 1 to 52
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weeks signi cantly reduced serum levels of some pro-in ammatory cytokines,
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                                                          fl
including C-reactive protein, tumor necrosis alpha, interleukin-2, and interleukin-6
[184]. However, probiotic administration had no effect on other pro-in ammatory




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cytokines, including interleukin-8 and interleukin-17.

Because of these ndings, many researchers believe that probiotics could be useful
                             fi
adjuvant therapies to treat COVID-19 [160,185-192]. This possibility was examined
in a clinical trial in Italy among 70 patients (median age 59 years) hospitalized with
COVID-19 [193]. All patients received hydroxychloroquine, antibiotics, and
tocilizumab (a monoclonal antibody), alone or in combination. In addition, 28 of the
70 patients also took a probiotic (Sivomixx®) containing a mixture of
Streptococcus, Lactobacillus, and Bi dobacterium strains three times daily for a
                                     fi
total daily dose of 2,400 billion bacteria for 14 days. Signs and symptoms—
including diarrhea, fever, asthenia (weakness), headaches, myalgia (muscle pain),
and dyspnea (di culty breathing)—were signi cantly lower within 7 days in patients
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taking the probiotic than in those who did not. Probiotic administration also
reduced the risk of mortality, transfer to ICU, and respiratory failure.

Another clinical trial examined the effects of an enzyme and probiotic combination
in 200 adults (mean age 41 years) with post-COVID fatigue and muscle weakness
who had received a negative COVID-19 test result 3 weeks before, on average
[194].The supplements used were capsules containing 500 mg of ImmunoSEB and
5 billion CFU of ProbioSEB CSC3. Participants took two capsules in the morning
and two in the evening on an empty stomach, plus two capsules with lunch. The
investigators measured fatigue using questions about such issues as tiredness,
                                                                                     Ex. 3
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di culty starting tasks, lack of energy
           Case 8:21-cv-03112-TDC       or muscle
                                   Document       strength,
                                            1-3 Filed        di Page
                                                      12/06/21   culty23concentrating,
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and memory. After 14 days of treatment, fatigue resolved in 91% of individuals who
took the enzyme and probiotic supplement and only 15% of individuals who took
the placebo.

Several additional clinical trials (https://clinicaltrials.gov/ct2/results?
recrs=&cond=Covid19&term=probiotics&cntry=&state=&city=&dist=) are underway. For
example, one trial (https://clinicaltrials.gov/ct2/show/NCT04621071) in Canada plans to
investigate whether probiotic administration for up to 25 days reduces the duration
and severity of symptoms of COVID-19 in about 84 adults aged 18 years and older
with moderate forms of the disease who are not hospitalized [195]. Another trial
(https://clinicaltrials.gov/ct2/show/NCT04399252) is examining the effects of
Lactobacillus rhamnosus GG supplementation for 28 days on the microbiome of
182 children and adults aged 1 year and older with a household exposure to
someone diagnosed with COVID-19 but who do not have any COVID-19 symptoms
[196].

Safety: Probiotics, such as strains of Lactobacillus, Bi dobacterium, and
                                                             fi
Propionibacterium, have a long history of use in food and are often present in the
normal gastrointestinal microbiota, indicating that probiotic supplements are safe
for most people [175]. Side effects, which are usually minor, include gastrointestinal
symptoms, such as gas [17,176]. However, potential safety concerns can include
systemic infections, especially in individuals who are immunocompromised [175].
For example, in a few cases (mainly in individuals who were severely ill or
immunocompromised), the use of probiotics was linked to bacteremia, fungemia
(fungi in the blood), or infections that resulted in severe illness [197,198].

Probiotics are not known to interact with medications. However, antibiotic and
antifungal medications might decrease the effectiveness of some probiotics
[199,200].

More information on probiotics is available in the ODS health professional fact
sheet on probiotics.

Quercetin

                                                                                     Ex. 3
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Quercetin isCase
             a avonol    (a polyphenolic
                 8:21-cv-03112-TDC       compound)
                                    Document         present
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vegetables, spices, and beverages, including citrus fruits, apples, onions, berries,
broccoli, cilantro, dill, tea, and red wine [201-205]. Research suggests that quercetin
might have antioxidant, antiviral, anti-in ammatory, and immunomodulatory effects




                                          fl
[202-208]. It might also inhibit platelet aggregation [202,208]. Quercetin has very
low oral bioavailability, ranging from 3 to 17% [203], but combining it with sun ower




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lecithin increases its bioavailability by as much as 20 times [202,204].

E cacy: Results have been mixed in a few clinical trials examining the effects of
 ffi
500 and 1,000 mg/day quercetin (sometimes in combination with vitamin C or
niacin) on the risk of upper respiratory tract infections and the severity of
symptoms of these infections [209,210]. Because of its molecular structure and
pharmacological properties, some researchers believe quercetin might inhibit the
SARS-CoV-2 virus so they recommend studying its use to reduce the risk of COVID-
19 [202,204,205,207,211] Quercetin might also reduce in ammation and organ




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damage, such as acute kidney injury, that occurs in some critically ill patients with
COVID-19 [203,206,212]. Others recommend studying the combination of quercetin
with vitamin C because these substances might have antioxidant synergy [208].
However, at this time, only a couple of preliminary clinical trials have examined the
use of quercetin supplementation in patients with COVID-19.

In an open-label clinical trial in Pakistan, 152 adults aged 18 to 80 with COVID-19
who had mild to moderate symptoms and were not hospitalized were divided into
two groups. The rst group received Quevir®, a supplement containing 200 mg
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quercetin with sun ower lecithin (Quercetin Phytosome®), twice daily plus standard
                          fl
of care (analgesics, fever-reducing medications, oral steroids, and antibiotics) or
standard of care only for 30 days [213]. Individuals receiving quercetin supplements
were signi cantly less likely to require hospitalization than those who did not
           fi
receive quercetin supplements. Among patients who required hospitalization, stays
were shorter if they received the quercetin supplements. Quercetin
supplementation also reduced the need for oxygen therapy. A follow-up open-label
study by the same researchers compared the effects of supplementation with
Quevir® (three times daily for a total dose of 600 mg/day quercetin for 7 days,
followed by 400 mg/day for 7 more days) with the effects of standard of care in 42
adults with mild to moderate COVID-19 who were not hospitalized [214]. Of 21
individuals who received quercetin and standard of care, 16 had negative SARS-           Ex. 3
                                                                                       Page 23
CoV-2 test results after one week of
           Case 8:21-cv-03112-TDC    treatment,
                                  Document 1-3 whereas    only 2Page
                                                Filed 12/06/21   of 21
                                                                     25 patients
                                                                        of 90    in the
standard-of-care group had negative test results. After 2 weeks of treatment, all
patients who received quercetin and standard of care had negative SARS-CoV-2 test
results, as did 19 of 21 patients in the standard-of-care group. A confounding factor
in this study, however, was that patients in the standard-of-care group were
signi cantly older (mean of 56.2 years) than those in the quercetin group (42.5
       fi
years).

Several additional clinical trials (https://clinicaltrials.gov/ct2/results?
cond=Covid19&term=quercetin&cntry=&state=&city=&dist=) are underway. For example,
one trial (https://clinicaltrials.gov/ct2/show/NCT04377789) in Turkey is examining
whether 500 mg/day quercetin for 3 months reduces the risk of COVID-19 in healthy
adults and whether 1,000 mg/day for 3 months improves outcomes in adults with
COVID-19 [215]. Another trial (https://clinicaltrials.gov/ct2/show/NCT04578158) in
Pakistan is comparing the effect of 400 mg/day quercetin (Quercetin Phytosome)
for 30 days to that of standard of care on COVID-19 disease progression in 152
adults with COVID-19 who are not hospitalized [216].

Safety: According to the FDA, up to 500 mg quercetin per serving is generally
recognized as safe (GRAS) as an ingredient in foods and beverages, including grain
products, pastas, processed fruits, fruit juices and soft candies [217]. Less is known
about quercetin supplements, but no serious adverse effects have been reported in
clinical trials that used up to 1,000 mg/day for up to 12 weeks
[201,209,213,214,218]. Reported side effects from one clinical trial that
administered 200 mg quercetin twice daily for 30 days included gastric pain and
re ux, constipation, diarrhea, atulence, and sleep disorders, but the rate of these
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                                 fl
effects was similar in the treatment and control groups [213].

Quercetin might affect drug-metabolizing enzymes, such as CYP3A4, which could
increase the bioavailability of cyclosporine, pravastatin (used to treat high
cholesterol), and fexofenadine (an antihistamine) [218]. In addition, quercetin might
reduce blood pressure in people with hypertension [219], so it could potentiate the
effects of antihypertensive medications.

Selenium

                                                                                       Ex. 3
                                                                                     Page 24
Selenium isCase
            an essential  mineral contained
                8:21-cv-03112-TDC           in many
                                   Document 1-3 Filed foods,  including
                                                       12/06/21  Page 26 Brazil
                                                                         of 90 nuts,
seafood, meat, poultry, eggs, and dairy products, as well as bread, cereals, and other
grain products. The RDA for selenium ranges from 15 to 70 mcg for infants and
children, depending on age, and from 55 to 70 mcg for adults [220].

Selenium helps support both the innate and adaptive immune systems through its
role in T-cell maturation and function and in natural killer cell activity. It also reduces
the risk of infections [14,100,221-226]. As an antioxidant, selenium might also help
reduce the systemic in ammatory response that can lead to acute respiratory
                         fl
distress syndrome and organ failure [222,224,227].

Low selenium status in humans has been associated with lower natural killer cell
activity, increased risk of some bacterial infections, and increased virulence of
certain viruses [14,223,226-228]. In addition, some research suggests that 100 to
300 mcg/day selenium supplements improve immune function and that doses of
50 or 100 mcg/day enhance the immune response to poliovirus vaccine [223].

Selenium status varies by geographic region because of differences in the amounts
of selenium in soil and in local foods consumed [220,229]. Selenium de ciency is




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very rare in the United States and Canada, but low selenium status is common in
some areas of the world, such as parts of Europe and China [225,230].

E cacy: Data are insu cient to support a recommendation for or against the use
 ffi
                        ffi
of selenium supplements to prevent or treat COVID-19. However, many researchers
recommend studying selenium as an adjuvant therapy for COVID-19 because of its
antiviral, anti-in ammatory, and immune-enhancing effects [100,221-223,225-
                fl
227,230-234].

Before the emergence of COVID-19, a Cochrane review of 16 clinical trials with a
total of 2,084 critically ill patients (because of burns, head injury, brain hemorrhage,
cerebrovascular accident, or elective major surgery) found that intravenous
selenium supplementation (which is classi ed as a drug) for 5 to 28 days or “until
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discharged” (length of treatment not speci ed) reduced overall mortality rates by
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18%, but did not affect 28-day or 90-day mortality rates [224]. Intravenous selenium
also had no effect on duration of ICU stay or hospital stay or on number of days on
a ventilator. However, the authors note that these ndings should be viewed with
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caution because the evidence was of very low quality.                                    Ex. 3
                                                                                       Page 25
Some research
         Case shows   that hospitalized
              8:21-cv-03112-TDC         patients
                                  Document       with12/06/21
                                           1-3 Filed  COVID-19  have
                                                              Page    low
                                                                   27 of 90 selenium
status at admission, and this low status might adversely affect the body’s immune
response [232,233,235]. In addition, selenium de ciency might increase the risk of




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mortality from COVID-19 [226]. For example, in a small study in Germany, the mean
serum selenium level of 33 patients with COVID-19 (50.8 mcg/L) was signi cantly




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lower than the mean value from a healthy cross-sectional study of 1,915 European
residents (84.4 mcg/L) [233]. A value of 80 mcg/L is typically considered adequate.
In addition, the 27 patients who survived COVID-19 had a signi cantly higher mean




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serum selenium level (53.3 mcg/L) than the 6 who did not (40.8 mcg/L) [233].
Similarly, a retrospective analysis in China of data from about 70,000 people with
COVID-19 found signi cantly higher survival rates in those living in areas where
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average selenium status was higher than in those living in areas where average
selenium status was lower, based on hair selenium levels in the various regions
[230]. However, selenium status can be assessed in multiple ways and because
37% of selenium is bound to albumin in the blood [236], selenium measurements
can be confounded if not adjusted for albumin levels in severe illness.

No clinical trials of selenium supplementation in patients with COVID-19 have been
published, but several trials (https://clinicaltrials.gov/ct2/results?
cond=Covid19&term=selenium&cntry=&state=&city=&dist=) are underway. For example,
one trial (https://clinicaltrials.gov/ct2/show/NCT04751669) in Spain is investigating
whether daily micronutrient supplementation with 110 mcg selenium along with 10
other vitamins and minerals for 14 days in 300 adults with COVID-19 reduces the
need for hospitalization due to the disease [237]. Another trial
(https://clinicaltrials.gov/ct2/show/NCT04869579 ) is examining the effects of 2,000
mcg selenium (as a selenious acid infusion) on day 1 followed by 1,000 mcg on
days 2–14 plus standard-of-care therapy in 100 hospitalized adults with moderate,
severe, or critical COVID-19 [238].

Safety: Up to 45 to 400 mcg/day selenium from foods and dietary supplements is
safe for infants and children, depending on age, and up to 400 mcg/day is safe for
adults [220]. These upper limits, however, do not apply to individuals receiving
selenium under the care of a physician. Higher intakes can cause garlic odor in the
breath and a metallic taste in the mouth, as well as hair and nail loss or brittleness.
Other signs and symptoms of excess selenium intakes include lesions in the skin
                                                                                          Ex. 3
                                                                                        Page 26
and nervous system,
          Case       nausea, diarrhea,
               8:21-cv-03112-TDC       skin 1-3
                                  Document  rashes,
                                                Filedmottled
                                                      12/06/21teeth,
                                                                Page fatigue,
                                                                      28 of 90 irritability,
and nervous system abnormalities.

Cisplatin, a chemotherapy agent used to treat ovarian, bladder, lung, and other
cancers can reduce selenium levels in hair, plasma, and serum [239,240]. Some
studies have examined whether selenium supplementation helps reduce the side
effects of cisplatin and other chemotherapy agents, but the evidence is uncertain
[240,241].

More information on selenium is available in the ODS health professional fact sheet
on selenium.

Vitamin C

Vitamin C, also called ascorbic acid, is an essential nutrient found in many fruits
and vegetables, including citrus fruits, tomatoes, potatoes, red and green peppers,
kiwifruit, broccoli, strawberries, brussels sprouts, and cantaloupe. The RDA ranges
from 15 to 115 mg for infants and children, depending on age, and from 75 to 120
mg for nonsmoking adults; people who smoke need 35 mg more per day [220].

Vitamin C plays an important role in both innate and adaptive immunity, probably
because of its antioxidant effects, antimicrobial and antiviral actions, and effects on
immune system modulators [242-245]. Vitamin C helps maintain epithelial integrity,
enhance the differentiation and proliferation of B cells and T cells, enhance
phagocytosis, normalize cytokine production, and decrease histamine levels [243].
It might also inhibit viral replication [246].

Vitamin C de ciency impairs immune function and increases susceptibility to
              fi
infections [243]. Some research suggests that supplemental vitamin C enhances
immune function [247], but its effects might vary depending on an individual’s
vitamin C status [248].

Vitamin C de ciency is uncommon in the United States, affecting only about 7% of
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individuals aged 6 years and older [249]. People who smoke and those whose diets
include a limited variety of foods (such as some older adults and people with
alcohol or drug use disorders) are more likely than others to obtain insu cient
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amounts of vitamin C [244,247].
                                                                                          Ex. 3
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E cacy: Currently, data are insu cient
         Case 8:21-cv-03112-TDC        to support
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                                           1-3 Filed recommendation
                                                              Page 29 ofeither
                                                                         90    for or
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against the use of vitamin C supplements to prevent or treat COVID-19. However,
many researchers recommend studying vitamin C as an adjuvant therapy for
COVID-19, including its possible ability to reduce in ammation and vascular injury




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in these patients [100,123,160,242,245,250-253].

Interest in the use of vitamin C supplements to treat COVID-19 comes from
research showing that taking 200 mg/day or more vitamin C supplements on a
regular basis helps reduce the duration of the common cold and the severity of its
symptoms [242,246]. Vitamin C supplements also appear to reduce the risk of
developing a cold in people exposed to extreme physical stress—including
marathon runners, skiers, and soldiers in subarctic areas [246]. In addition, vitamin
C supplementation might bene t people with pneumonia who have low vitamin C
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levels [254], as well as people with viral infections, including Epstein-Barr and
herpes zoster [247]. Vitamin C’s antioxidant action might also help reduce oxidative
stress during infections [242,246]. People with low vitamin C status might bene t




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more from vitamin C supplementation than those who already obtain su cient




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vitamin C [248].

A few observational studies have examined the effects of vitamin C
supplementation on mortality rates in patients with COVID-19 and have had mixed
 ndings [253]. For example, a retrospective chart review of 102 patients (median
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age 63 years) with COVID-19 who were receiving intensive care included 73 patients
who received vitamin C plus zinc (doses not speci ed); the other patients did not
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receive these supplements [255]. Vitamin C and zinc supplementation did not affect
mortality. Another retrospective chart review included 152 patients with COVID-19
(median age 68 years) who were on mechanical ventilation [256]. The 79 patients
who received vitamin C supplements (doses not speci ed) had a signi cantly lower
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mortality rate than those who did not receive vitamin C supplements. In addition,
self-reported use of vitamin C supplements (doses not reported) more than three
times per week for at least 3 months among 372,720 U.K. residents aged 16 to 90
years, 45,757 individuals in the United States, and 27,373 individuals in Sweden was
not associated with higher or lower risk of SARS-CoV-2 infection [156].

A small clinical trial in Mexico examined the effects of 1,000 mg vitamin C every 12
hours for 5 days plus the drug pentoxifylline in 22 hospitalized adults (mean age
                                                                                           Ex. 3
                                                                                         Page 28
57.9 years)Case
           with 8:21-cv-03112-TDC
                pneumonia that resulted from
                                  Document 1-3 COVID-19    [127].
                                                Filed 12/06/21    Patients
                                                               Page 30 of 90who
received vitamin C and pentoxifylline had signi cantly lower levels of the




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in ammatory markers interleukin-6 and procalcitonin than at baseline, whereas
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those who received pentoxifylline alone did not. Vitamin C plus pentoxifylline also
signi cantly increased total antioxidant capacity, but pentoxifylline alone did not.
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Both treatments signi cantly increased nitrite levels (suggesting higher oxygen

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levels) from baseline values and reduced levels of the in ammatory marker C-




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reactive protein, but neither treatment affected the lipid peroxidation index. The
COVID A to Z trial compared the effects of daily supplementation with 8,000 mg
ascorbic acid, 50 mg zinc (as zinc gluconate), or both for 10 days with standard of
care in 214 adults (mean age 45.2 years) with COVID-19 who were not hospitalized
[257]. None of the supplements shortened symptom duration.

Studies have also examined the effects of vitamin C administered intravenously.
Intravenous administration of vitamin C can produce plasma concentrations that
are much higher than those produced by oral doses [258]. The FDA classi es




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intravenous forms of vitamin C as drugs; only oral forms can be classi ed as




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dietary supplements. According to some case reports from China, for example,
high-dose intravenous vitamin C (10–20 g per day administered over 8 to 10 hours)
increased the oxygenation index in 50 patients with moderate to severe COVID-19;
all patients eventually recovered [259]. In a pilot trial in China, 56 patients with
COVID-19 (mean age 66.7 years) in ICU received either intravenous vitamin C (12 g
twice daily) or placebo for 7 days or until ICU discharge or death [260]. Vitamin C
administration did not affect 28-day mortality rates. In another trial of 60 patients
with severe COVID-19 infection (mean age 58 to 61 years) and receiving oral
lopinavir/ritonavir and hydroxychloroquine, 30 patients were also given intravenous
vitamin C (1.5 g four times daily) for 5 days [261]. Vitamin C administration did not
affect mortality, length of ICU stay, or oxygen saturation at discharge.

The National Institutes of Health (NIH) COVID-19 Treatment Guidelines Panel notes
that in patients who do not have COVID-19, intravenous vitamin C alone or in
combination with other nutrients and medications improves some but not all
outcomes in critically ill patients with sepsis, acute respiratory distress syndrome,
or pneumonia [245]. However, the Panel concludes that data are insu cient to
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support a recommendation for or against the use of vitamin C to treat COVID-19
[245].                                                                                    Ex. 3
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Several other clinical
           Case        trials (https://clinicaltrials.gov/ct2/results?
                 8:21-cv-03112-TDC     Document 1-3 Filed 12/06/21 Page 31 of 90
cond=Covid19&term=vitamin+C&cntry=&state=&city=&dist=&Search=Search) are
examining whether vitamin C (administered intravenously or as a dietary
supplement) in combination with other dietary supplement ingredients,
medications, or both helps prevent or treat COVID-19. For example, one trial
(https://clinicaltrials.gov/ct2/show/NCT04323514) in Italy is investigating intravenous
administration of 10 g ascorbic acid in addition to conventional therapy in about
500 children and adults who are hospitalized with COVID-19 pneumonia [262].
Another trial (https://clinicaltrials.gov/ct2/show/NCT04530539) is evaluating whether
daily supplementation with 1,000 mg ascorbic acid plus 10 mg melatonin for 14
days affects the symptoms and outcomes of COVID-19 in about 150 adults aged 50
years and older who are not hospitalized [129].

Safety: Vitamin C in foods and dietary supplements is safe at intakes up to 400 to
1,800 mg/day for children, depending on age, and up to 2,000 mg/day for adults
[220]. These upper limits, however, do not apply to individuals receiving vitamin C
treatment under the care of a physician. Higher intakes can cause diarrhea, nausea,
and abdominal cramps. High vitamin C doses might also cause falsely high or low
readings on some blood glucose meters that are used to monitor glucose levels in
people with diabetes [263-265]. In people with hemochromatosis, high doses of
vitamin C could exacerbate iron overload and damage body tissues [220,244].The
FNB recommends that these individuals be cautious about consuming vitamin C
doses above the RDA [220].

Vitamin C supplementation might interact with some medications. For example, it
might reduce the effectiveness of radiation therapy and chemotherapy by
protecting tumor cells from the action of these agents [266].

More information on vitamin C is available in the ODS health professional fact sheet
on vitamin C.

Vitamin D

Vitamin D, whose forms are vitamin D2 and vitamin D3, is an essential nutrient that
is naturally present in only a few foods, such as fatty sh (including salmon and
                                                         fi
tuna) and sh liver oils, and in small amounts in beef liver, cheese, and egg yolks.
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Forti ed foods, especially forti ed milk, provide most of the vitamin D in American Ex. 3
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diets. The RDA
           Casefor vitamin D ranges
                8:21-cv-03112-TDC   from 101-3
                                  Document  to 15  mcg
                                               Filed    (400 international
                                                     12/06/21 Page 32 of 90 units [IU]
to 600 IU) for children, depending on age, and from 15 to 20 mcg (600 to 800 IU) for
adults [267]. The body can also synthesize vitamin D from sun exposure.

Vitamin D obtained from sun exposure, foods, and supplements is biologically inert
and must undergo two hydroxylations in the body for activation. The rst




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hydroxylation, which occurs in the liver, converts vitamin D to 25-hydroxyvitamin D
[25(OH)D]. The second hydroxylation occurs primarily in the kidney and forms the
physiologically active 1,25-dihydroxyvitamin D [1,25(OH)2D]. Serum concentration
of 25(OH)D is currently the main indicator of vitamin D status [267]. Although
researchers have not de nitively identi ed serum concentrations of 25(OH)D
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associated with de ciency and adequacy, the FNB advises that levels below 30
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nmol/L (12 ng/mL) are associated with vitamin D de ciency, and levels of 50




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nmol/L (20 ng/mL) or more are considered adequate for bone and overall health in
most people [267]. However, 25(OH)D levels de ned as de cient or adequate vary
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from study to study.

In addition to its well-known effects on calcium absorption and bone health, vitamin
D plays a role in immunity [268]. Vitamin D appears to lower viral replication rates,
suppress in ammation, and increase levels of T-regulatory cells and their activity
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[123,251,269-273]. In addition, immune cells (e.g., B lymphocytes and T
lymphocytes) express the vitamin D receptor and some immune cells (e.g.,
macrophages and dendritic cells) can convert 25(OH)D into the active 1,25(OH)2D.
This ability suggests that vitamin D might modulate both innate and adaptive
immune responses [251,270,272,273].

Vitamin D de ciency affects the body’s susceptibility to infection and has been
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associated with in uenza, hepatitis C, human immunode ciency virus (HIV) and
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                                                           fi
other viral diseases [274,275]. Surveys indicate that most people in the United
States consume less than recommended amounts of vitamin D [276]. Nevertheless,
according to a 2011–2014 analysis of serum 25(OH)D concentrations, most people
in the United States aged 1 year and older had adequate vitamin D status [277]. Sun
exposure, which increases serum 25(OH)D levels, is one of the reasons serum
25(OH)D levels are usually higher than would be predicted on the basis of dietary
vitamin D intakes alone [267].

                                                                                     Ex. 3
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E cacy: Currently, data are insu cient
         Case 8:21-cv-03112-TDC        to support
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                                                              Page 33 offor
                                                                         90 or against
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the use of vitamin D supplementation to prevent or treat COVID-19. However, some
evidence suggests that vitamin D supplementation helps prevent respiratory tract
infections, particularly in people with 25(OH)D levels less than 25 nmol/L (10
ng/mL) [278]. Scientists are therefore actively studying whether vitamin D might
also be helpful for preventing or treating COVID-19.

Some studies link lower vitamin D status with a higher incidence of COVID-19 and
more severe disease [235,279-287] but others do not [288-292]. For example, a
comparison of serum 25(OH)D levels in 335 patients with COVID-19 in China with
levels in 560 age- and sex-matched healthy participants found signi cantly lower




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25(OH)D concentrations (median of 26.5 nmol/L [10.6 ng/mL]) in patients with
COVID-19 than healthy participants (median of 32.5 nmol/L [13 ng/mL]) [280]. In
addition, the prevalence of vitamin D de ciency [de ned as serum 25(OH)D less
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than 30 nmol/L (12 ng/mL)] was signi cantly higher in patients with COVID-19 than
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healthy participants, and vitamin D de ciency was associated with more severe
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COVID-19. Another study from Spain also found lower 25(OH)D levels as well as
higher rates of vitamin D de ciency in 216 hospitalized patients with COVID-19 than
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in 197 healthy individuals, although it did not nd any relationship between disease
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severity and vitamin D levels or de ciency status [281]. Similarly, a study of 120
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patients (mean age 62.3 years) hospitalized in Algeria with severe COVID-19 found
a linear inverse association between vitamin D status and mortality rates; patients
with adequate 25(OH)D levels (higher than 78 nmol/L [30 ng/mL]) had a 13.3%
mortality rate, whereas those with severe de ciency [25(OH)D lower than 26 nmol/L
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(10 ng/mL)] had a 46.9% mortality rate [282]. A systematic review and meta-
analysis of 31 observational studies (including some of those described above) did
not nd signi cant associations between serum 25(OH)D levels below 50 nmol/L
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(20 ng/ml) and incidence of COVID-19, or risk of mortality, ICU admission, or need
for ventilation among COVID-19 patients [293]. However, mean 25(OH)D levels were
signi cantly lower in COVID-19 patients than healthy individuals, based on the
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results from 5 studies that examined this outcome.

Other studies found that people with vitamin D de ciency were more likely to have
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COVID-19 and a poorer prognosis than those who were vitamin D su cient
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[235,294-298] and that people who regularly took vitamin D supplements (amounts
not speci ed) were less likely to develop COVID-19 than those who did not [299]. A Ex. 3
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                                                                                          Page 32
retrospective study
           Case     of 4,638 individuals
                8:21-cv-03112-TDC        (mean
                                   Document 1-3 age
                                                 Filed52.8 years)Page
                                                       12/06/21   who34were
                                                                        of 90tested for
COVID-19 examined associations between vitamin D levels (measured during the
previous year, but not within 14 days of COVID-19 testing) and COVID-19 test results
[300]. Black individuals with 25(OH)D levels below 100 nmol/L (40 ng/mL) had
higher risk of COVID-19 than those with higher levels, but the results showed no
associations between vitamin D levels and COVID-19 risk among White individuals.
Another study in 235 patients (mean age 58.7 years) hospitalized with COVID-19
found that those with vitamin D su ciency had less severe disease [301]. In this




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study, people with vitamin D su ciency [de ned as 25(OH)D levels higher than 75

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nmol/L (30 ng/mL)] also had lower levels of C-reactive protein and higher
lymphocyte percentages than those with vitamin D insu ciency. These changes




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might have reduced the risk of the cytokine storm [271,301].

Some of these investigators did not consider confounders, such as obesity and
race. Many people with obesity, for example, have lower vitamin D status and more
severe COVID-19 than individuals with a healthy weight [267,302]. An analysis of
348,598 U.K. Biobank participants (median age 49 years), of whom 449 had COVID-
19, did not nd a link between 25(OH)D concentrations and risk of SARS-CoV-2
           fi
infection after adjusting for confounders including ethnicity, BMI category, age at
assessment, and sex [292].

A systematic review and meta-analysis of 39 studies from around the world
(primarily in adults) that examined associations between 25(OH)D levels and SARS-
CoV-2 infection rates and COVID-19 severity found that participants with vitamin D
de ciency [de ned as 25(OH)D levels <25 nmol/L to ≤75 nmol/L (<10 ng/mL to ≤30
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                fi
ng/mL) depending on the study] had a higher risk of SARS-CoV-2 infection and
more severe COVID-19 disease than those with adequate vitamin D levels [303].
However, associations between vitamin D de ciency and ICU admission, pulmonary
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complications, hospitalization, in ammation, and mortality were inconsistent. Other
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systematic reviews and meta-analyses have found that patients with COVID-19 who
have vitamin D de ciency or lower vitamin D status or who do not take vitamin D
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supplements have more severe disease and higher mortality rates than others [304-
306]. However, these reviews found inconsistent associations between vitamin D
status and risk of SARS-CoV-2 infection. A study in Ireland that examined 25(OH)D
levels in 149 patients (mean age 48 years) at a median of 79 days after the onset of
                                                                                      Ex. 3
                                                                                    Page 33
COVID-19 illness found no relationship
           Case 8:21-cv-03112-TDC      between
                                  Document     25(OH)D
                                           1-3 Filed       levels
                                                     12/06/21     and
                                                               Page 35fatigue
                                                                       of 90 or
exercise tolerance, both of which are common symptoms of long COVID [307].

Although many observational studies suggest a link between low vitamin D status
and higher incidence of COVID-19 and more severe disease, vitamin D status
measurements after disease onset might not re ect pre-infection vitamin D status.




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In a small study in nine healthy men (median age 22 years), administration of a
lipopolysaccharide to induce systemic in ammation signi cantly reduced 25(OH)D




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levels within hours [308]. Because COVID-19 induces an in ammatory response,




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some of the associations between low 25(OH)D concentrations and COVID-19
might be explained by reverse causality [i.e., the disease might have caused the low
25(OH)D concentrations].

Some evidence suggests that vitamin D supplementation might reduce COVID-19
severity. Self-reported use of vitamin D supplements (dose not reported) more than
three times per week for at least 3 months among 372,720 U.K. residents aged 16
to 90 years was associated with a 9% lower risk of SARS-CoV-2 infection after
adjustment for potential confounders [156]. Findings were similar for 45,757
individuals in the United States and 27,373 individuals in Sweden.

An analysis of data on 77 hospitalized adults in France (where vitamin D
supplementation is routinely recommended for those over 65 years of age) with
COVID-19 (mean age 88 years) found that those who had received bolus oral doses
of 1,250 mcg (50,000 IU) vitamin D3 per month or 2,000 mcg (80,000 IU) or 2,500
mcg (100,000 IU) vitamin D3 every 2 or 3 months throughout the preceding year
had less severe disease and lower mortality rates than those who did not receive
vitamin D supplementation [309]. In addition, a non-randomized retrospective study
in Spain of 537 patients hospitalized with COVID-19 (median age 70 years) found
that the 79 patients who received calcifediol (25-OHD3, 532 mcg on the rst day
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and 266 mcg on days 3, 7, 14, 21, and 28) combined with medications had a lower
mortality rate during the rst 30 days of hospitalization than those who received
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medications without calcifediol [310].

An observational study in the U.K. found that of 444 hospitalized patients (median
age 74 years) with COVID-19, those who received various vitamin D3 regimens with
doses of 500 to 1,250 mcg (20,000 to 50,000 IU) daily to bi-weekly for 7 days to 7
                                                                                     Ex. 3
                                                                                   Page 34
weeks had Case
            a lower risk of death from
                 8:21-cv-03112-TDC     the disease
                                    Document        [311].
                                             1-3 Filed     This Page
                                                       12/06/21  nding
                                                                     36was
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in another cohort of 542 hospitalized patients, some of whom received similar
doses of vitamin D3 supplements [311]. Similarly, an observational study in
Singapore found that the 17 of 43 hospitalized patients aged 50 years or older with
COVID-19 who received 25 mcg (1,000 IU) vitamin D3, 150 mg magnesium, and 500
mcg vitamin B12 daily for a median of 5 days (initiated within the rst day of




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hospitalization for most patients) were less likely to need oxygen therapy, intensive
care support, or both than those who did not receive the supplementation [93].

Because of these ndings, many researchers recommend additional research on
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whether higher vitamin D intakes or vitamin D supplementation can reduce the risk
and severity of COVID-19
[90,91,100,123,160,235,251,269,271,272,280,294,295,301,312-318].

In an open letter, more than 200 scientists and doctors recommended that adults
increase vitamin D intakes from all sources to achieve serum 25(OH)D levels above
75 nmol/L (30 ng/mL) to prevent COVID-19 or reduce its symptoms [319]. They also
recommended that adults whose 25(OH)D levels are not tested achieve a daily
vitamin D intake of 50 to 100 mcg daily (2,000–4,000 IU); individuals at increased
risk of vitamin D de ciency (e.g., those who have obesity, have dark skin, or live in
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care facilities) might need even larger amounts. These scientists and doctors also
recommended that hospitals measure the serum 25(OH)D levels of all patients
hospitalized for COVID-19 and that patients with levels below 75 nmol/L (30 ng/mL)
receive vitamin D supplementation.

This open letter is not an o cial guidance document, however. The NIH COVID-19
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Treatment Guidelines Panel states that data are currently insu cient to support a
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recommendation for or against the use of vitamin D to prevent or treat COVID-19
[273]. Guidelines on vitamin D and COVID-19 from the National Institute for Health
and Care Excellence (NICE) in the United Kingdom state that individuals older than
4 years should consider taking 10 mcg (400 IU) of vitamin D daily between October
and early March to maintain bone and muscle health [320]. However, the United
Kingdom does not fortify milk with vitamin D [321]. In addition, NICE does not
recommend that people take vitamin D supplements solely to prevent or treat
COVID-19, except as part of a clinical trial [320].

                                                                                     Ex. 3
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A clinical trial
             Casein 8:21-cv-03112-TDC
                    240 hospitalized patients
                                      Document(mean  age12/06/21
                                               1-3 Filed 56.2 years)
                                                                 Pagewith
                                                                      37 ofmoderate
                                                                           90       to
severe COVID-19 compared the effects of a single oral dose of 5,000 mcg (200,000
IU) vitamin D3 administered about 10 days after symptom onset with placebo [322].
The mean baseline 25(OH)D level among participants was 52.3 nmol/L (20.9
ng/mL). Vitamin D treatment did not signi cantly reduce the length of




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hospitalization or risk of mortality while hospitalized, ICU admission, or need for
mechanical ventilation, even among the 115 patients with vitamin D de ciency at




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baseline [de ned as 25(OH)D below 50 nmol/L (20 ng/mL)]. Another clinical trial in
             fi
Saudi Arabia compared the effects of 125 mcg (5,000 IU) vitamin D3 daily for 14
days with the effects of 25 mcg (1,000 IU) vitamin D3 in 69 adults (mean age 49.8
years) who were hospitalized with mild to moderate COVID-19 [323]. Patients
receiving 125 mcg vitamin D had shorter duration of coughing (mean of 6.2 days
vs. 9.1 days) and loss of taste (mean of 11.4 days vs. 16.9 days) than those
receiving 25 mcg, but the duration of other symptoms––including fever, fatigue,
headache, sore throat, body aches, and chills––did not differ between groups. In
another study in India, 1,500 mcg/day (60,000 IU) vitamin D for 8 or 10 days also
signi cantly reduced in ammatory markers in 87 hospitalized patients (mean age
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                          fl
45 years) with mild to moderate COVID-19 and vitamin D levels < 75 nmol/L (30
ng/mL) at admission [324].

Many additional clinical trials (https://clinicaltrials.gov/ct2/results?
recrs=&cond=covid19&term=vitamin+D&cntry=&state=&city=&dist=) are examining
whether vitamin D supplementation, alone or in combination with other treatments,
helps prevent COVID-19 or reduce its severity. For example, the CORONAVIT trial
(https://clinicaltrials.gov/ct2/show/NCT04579640) is comparing the impact of 20 mcg
(800 IU) or 80 mcg (3,200 IU) daily vitamin D3 supplementation with U.K. standard
of care (10 mcg vitamin D3 [400 IU]) for 6 months on risk and severity of COVID-19
in 6,200 healthy U.K. residents aged 16 years and older [325]. Another trial
(https://clinicaltrials.gov/ct2/show/NCT04536298) is examining whether vitamin D3
supplementation for 28 days (240 mcg [9,600 IU] on days 1 and 2, followed by 80
mcg [3,200 IU] on days 3 through 28) in about 2,700 adults aged 30 years and older
who were recently diagnosed with COVID-19 helps reduce the severity of disease
and risk of transmission to household members [326].

Safety: Daily intakes of up to 25–100 mcg (1,000 IU–4,000 IU) vitamin D in foods
and dietary supplements are safe for infants and children, depending on age, and Ex. 3
                                                                                      Page 36
up to 100 mcg
           Case(4,000  IU) are safe for
                8:21-cv-03112-TDC       adults1-3
                                    Document   [267]. These
                                                  Filed      upper
                                                        12/06/21   limits,
                                                                 Page 38 ofhowever,
                                                                            90      do
not apply to individuals receiving vitamin D treatment under the care of a physician.
Higher intakes (usually from supplements) can lead to nausea, vomiting, muscle
weakness, confusion, pain, loss of appetite, dehydration, excessive urination and
thirst, and kidney stones. In extreme cases, vitamin D toxicity causes renal failure,
calci cation of soft tissues throughout the body (including in coronary vessels and
     fi
heart valves), cardiac arrhythmias, and even death [327-329].

Several types of medications might interact with vitamin D. For example, orlistat,
statins, and steroids can reduce vitamin D levels [330,331]. In addition, taking
vitamin D supplements with thiazide diuretics might lead to hypercalcemia [330].

More information on vitamin D is available in the ODS health professional fact sheet
on vitamin D (https://ods.od.nih.gov/factsheets/VitaminD-HealthProfessional/).

Vitamin E

Vitamin E, also called ”alpha-tocopherol,” is an essential nutrient that is present in
several foods, including nuts, seeds, vegetable oils, and green leafy vegetables. The
RDA for vitamin E is 4 to 15 mg for infants and children, depending on age, and 15
to 19 mg for adults [220].

Vitamin E is an antioxidant that plays an important role in immune function by
helping to maintain cell membrane integrity and by enhancing antibody production,
lymphocyte proliferation, and natural killer cell activity [100,223,268,332,333].
Vitamin E has also been shown to limit in ammation by inhibiting the production of
                                            fl
pro-in ammatory cytokines [334]. Vitamin E de ciency impairs both humoral and
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cell-mediated immunity and increases susceptibility to infections [223,333,335].
Some studies suggest that high-dose vitamin E supplements (60 to 800 mg/day)
for 1 to 8 months enhance lymphocyte proliferation, interleukin-2 production, and
natural killer cell activity in adults aged 60 or older [336-338].

Frank vitamin E de ciency is rare, except in individuals with intestinal malabsorption
                    fi
disorders [220,268]. For this reason, research on the ability of vitamin E to improve
immune function tends to use supplemental vitamin E rather than simply ensuring
that study participants achieve adequate vitamin E status [333].

                                                                                       Ex. 3
                                                                                     Page 37
E cacy: The effects
         Case        of vitamin E supplementation
               8:21-cv-03112-TDC   Document 1-3 Filedon infectious
                                                      12/06/21  Pagediseases,
                                                                     39 of 90 such as
 ffi
respiratory tract infections, in studies are mixed [335,339]. In one clinical trial, 90
mg (200 IU) vitamin E supplements (as DL-alpha-tocopherol) daily for 1 year
reduced the risk of upper respiratory tract infections by 16%, particularly the
common cold, in 617 adults aged 65 or older but not lower respiratory tract
infections [340]. Supplementation with 50 mg/day vitamin E (as DL-alpha
tocopheryl acetate) for 5–8 years also reduced the risk of pneumonia by 69% in
2,216 men aged 50–69 years who smoked 5–19 cigarettes per day and exercised,
but it did not affect the risk of pneumonia in another 5,253 men who smoked more
than 19 cigarettes per day or did not exercise [341]. In another clinical trial in 652
adults aged 60 years or older, 200 mg vitamin E supplements (as alpha-tocopheryl
acetate) for about 14 months did not affect the incidence of acute respiratory tract
infections and actually increased illness severity [342]. For example, rates of fever
were 37% in individuals receiving vitamin E and 25% in those receiving placebo;
illness duration was also signi cantly longer, at 19 days, for those receiving vitamin
                                fi
E than for the others, whose average illness duration was 14 days.

Data are insu cient to support a recommendation for or against the use of vitamin
                 ffi
E supplements to prevent or treat COVID-19. However, because of its effects on
immune function, many researchers recommend studying vitamin E to see if it
reduces the risk of COVID-19 or reduces symptoms of the disease
[100,223,231,234,268,333-335,343].

A small clinical trial in Mexico examined the effects of 800 mg vitamin E (as alpha-
tocopheryl acetate) every 12 hours for 5 days plus the drug pentoxifylline in 22
hospitalized adults (mean age 57.9 years) with pneumonia that resulted from
COVID-19 [127]. Another group of 22 patients received pentoxifylline alone. Patients
who received vitamin E and pentoxifylline had signi cantly lower levels of the
                                                       fi
in ammatory markers interleukin-6 and procalcitonin than at baseline, whereas
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those who received pentoxifylline alone did not. Vitamin E plus pentoxifylline also
signi cantly decreased the lipid peroxidation index (a measure of oxidative stress),
            fi
but pentoxifylline alone did not. Both treatments signi cantly increased nitrite levels
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(suggesting higher oxygen levels) and reduced levels of the in ammatory marker C-
                                                                  fl
reactive protein, but neither treatment affected total antioxidant capacity.


                                                                                        Ex. 3
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Clinicaltrials.gov (https://clinicaltrials.gov/ct2/results?
             Case 8:21-cv-03112-TDC      Document 1-3 Filed 12/06/21 Page 40 of 90
cond=Covid19&term=%22vitamin+E%22&cntry=&state=&city=&dist= ) does not list any
other trials investigating vitamin E alone in patients with COVID-19, but studies are
using vitamin E in combination with other ingredients. For example, a clinical trial
(https://clinicaltrials.gov/ct2/show/NCT04751669 ) in Spain is investigating whether a
micronutrient supplement containing 45 mg vitamin E (as alpha-tocopherol) and 10
other vitamins and minerals for 14 days reduces the need for hospitalization in 300
outpatient adults with COVID-19 [237]. Another trial
(https://clinicaltrials.gov/ct2/show/NCT04323228 ) in Saudi Arabia is examining
whether taking a dietary supplement containing 90 mg vitamin E (form not
speci ed) plus 1,500 mcg vitamin A (as beta-carotene), 250 mg vitamin C, 15 mcg
       fi
selenium, and 7.5 mg zinc for 14 days affects the progression of disease and the
risk of cytokine storm in 40 adults with COVID-19 [344].

Safety: All intake levels of vitamin E in foods are considered safe. Up to 200 mg to
800 mg/day supplemental vitamin E is safe for children, depending on age, and up
to 1,000 mg/day is safe for adults [220]. These upper limits, however, do not apply
to individuals receiving vitamin E under the care of a physician. Higher vitamin E
intakes can increase the risk of bleeding because of the vitamin’s anticoagulant
effect and can cause hemorrhagic stroke.

Vitamin E supplementation might interact with certain medications, including
anticoagulant and antiplatelet medications. It might also reduce the effectiveness
of radiation therapy and chemotherapy by protecting tumor cells from the action of
these agents [266,345,346].

More information on vitamin E is available in the ODS health professional fact sheet
on vitamin E.

Zinc

A wide variety of foods contain zinc, an essential nutrient. These foods include
oysters, crab, lobster, beef, pork, poultry, beans, nuts, whole grains, and dairy
products. The RDA for zinc is 2–13 mg for infants and children, depending on age,
and 8–12 mg for adults [347].


                                                                                       Ex. 3
                                                                                     Page 39
Zinc is involved
            Case in numerous aspects
                 8:21-cv-03112-TDC    of cellular
                                   Document       metabolism.
                                            1-3 Filed 12/06/21 Zinc
                                                               Page is
                                                                    41 necessary
                                                                       of 90     for
the catalytic activity of approximately 100 enzymes, and it plays a role in many body
processes, including both the innate and adaptive immune systems [14,347-350].
Zinc also has antiviral and anti-in ammatory properties, and it helps maintain the




                                        fl
integrity of tissue barriers, such as the respiratory epithelia [123,351,352]. In
addition, zinc is required for sense of taste and smell.

Zinc de ciency adversely affects immune function by impairing the formation,
                 fi
activation, and maturation of lymphocytes. In addition, zinc de ciency decreases




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ratios of helper and suppressor T cells, production of interleukin-2, and activity of
natural killer cells and cytotoxic T cells [14,227,348,350,353]. Furthermore, zinc
de ciency is associated with elevated levels of proin ammatory mediators [351].
       fi
                                                        fl
These effects on immune response probably increase susceptibility to infections
[354] and in ammatory diseases, especially those affecting the lungs [351].
                      fl
Studies have found associations between low zinc status and increased risk of viral
infections [268], and people with zinc de ciency have a higher risk of diarrhea and
                                             fi
respiratory diseases [14]. Poor zinc status is also common among individuals with
HIV and hepatitis C and is a risk factor for pneumonia in older adults
[227,352,355,356].

Although zinc de ciency is not common in the United States, 15% of the U.S.
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population might obtain marginal amounts of zinc [357]. Older adults are among
the groups most likely to have low intakes.

E cacy: Currently, data are insu cient to support recommendations for or against
 ffi
                                  ffi
the use of zinc to prevent or treat COVID-19. However, because of zinc’s role in the
immune system and in maintaining epithelial integrity, its antiviral activities, and its
anti-in ammatory effects, some researchers believe that adequate zinc intakes
            fl
might reduce the risk of COVID-19 and its severity
[90,100,123,135,160,227,251,351,358-360]. Evidence that zinc lozenges might help
shorten the duration of the common cold [361] has also spurred interest in zinc
supplementation to help treat COVID-19. In addition, some researchers believe that
zinc supplements might help reduce the severity of some of the symptoms of
COVID-19, including diarrhea and a loss of taste and smell [362-364].

                                                                                       Ex. 3
                                                                                     Page 40
An observational study of 249 patients
          Case 8:21-cv-03112-TDC       (median
                                  Document     age 12/06/21
                                           1-3 Filed 65 years)Page
                                                               with42
                                                                    COVID-19
                                                                      of 90
admitted to a hospital in Spain found that patients with serum zinc levels lower than
50 mcg/dL had more severe disease at admission, took longer to recover (median
of 25 vs 8 days), and had higher mortality rates (21% vs 5%) than those with higher
zinc levels [365]. A similar study in India found that 47 hospitalized patients with
COVID-19 (median age 34 years) had lower median serum zinc levels at admission
(74.5 mcg/dL) than 45 randomly selected healthy individuals who were not
hospitalized and were used as a control group (median age 32 years; 105.8
mcg/dL), although both of these median values would be considered normal [366].
In addition, patients with COVID-19 who had zinc levels below 80 mcg/dL had
higher rates of complications than those with higher levels. Mean serum zinc
concentrations were also lower (71.7 mcg/dL) in 35 hospitalized patients (median
age 77 years) with COVID-19 in Germany, especially in the 6 patients who did not
survive the disease, than a group of randomly chosen healthy individuals who were
used as control group (97.6 mcg/dL) [367]. However, hypozincemia is part of the
acute-phase response during infection, and zinc concentrations can also decline
substantially as a result of acute physiological stress [368].

In another study, self-reported use of zinc supplements (dose not reported) more
than three times per week for at least 3 months among 372,720 U.K. residents aged
16 to 90 years as well as 45,757 individuals in the United States and 27,373
individuals in Sweden was not associated with higher or lower risk of SARS-CoV-2
infection [156].

In a case report from the United States, four patients aged 26–63 years with COVID-
19 were treated with high-dose zinc citrate, zinc gluconate, or zinc acetate lozenges
every 2 to 4 hours for a total dose of 115 to 184 mg of zinc per day for 10 to 14
days [369]. The symptoms—including fever, cough, headache, shortness of breath,
body aches, and fatigue—of all four patients began to decline within 24 hours of
starting the zinc treatment, and all ultimately recovered. However, case studies
such as these that do not have a placebo control arm cannot show whether the
treatment was responsible for the outcomes.

A retrospective study included 932 patients (average age of 62–63 years)
hospitalized with COVID-19 between March and April 2020 [370]. All patients were
treated with hydroxychloroquine and azithromycin, and 411 also received 50 mg
                                                                                         Ex. 3
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zinc (as zinc sulfate)
            Case       twice daily forDocument
                 8:21-cv-03112-TDC     5 days; 1-3
                                               the other  521 patients
                                                   Filed 12/06/21 Page did
                                                                       43 ofnot
                                                                             90 receive
the zinc supplements. Zinc supplementation did not affect the length of time the
patients remained in the hospital, on a ventilator, or in the ICU. However, among
patients who did not require intensive care, those receiving zinc had a lower rate of
mortality or transfer to a hospice and a higher likelihood of being discharged to
their homes. Another retrospective study compared mortality rates among 242
patients hospitalized with COVID-19; 196 patients (median age 65 years) received
supplementation with 100 mg/day zinc (as zinc sulfate), and 46 patients (median
age 71 years) received no supplements [371]. Zinc supplementation did not affect
mortality rates.

In a clinical trial in Egypt, 191 patients (mean age 43 years) with COVID-19 received
either 50 mg zinc (as zinc sulfate) twice daily plus hydroxychloroquine or
hydroxychloroquine only for 5 days [372]. The numbers of patients who recovered
within 28 days, needed mechanical ventilation, or died was not signi cantly




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different between groups.

The COVID A to Z trial compared the effects of daily supplementation with 50 mg
zinc (as zinc gluconate), 8,000 mg ascorbic acid, or both for 10 days with standard
of care in 214 adults (mean age 45.2 years) who had COVID-19 and were not
hospitalized [257]. Zinc, ascorbic acid, and the combination did not shorten the
duration of symptoms.

According to NIH treatment guidelines, data are insu cient to recommend for or
                                                            ffi
against the use of zinc supplements to treat COVID-19 [373]. In addition, the
guidelines recommend against doses of zinc supplements above the RDA to
prevent COVID-19, except in a clinical trial.

Several other clinical trials (https://clinicaltrials.gov/ct2/results?
cond=Covid19&term=zinc&cntry=&state=&city=&dist=&Search=Search) of zinc
supplementation, mostly in combination with other dietary supplement ingredients
and/or medications, to help prevent or treat COVID-19 are underway. For example,
one trial (https://clinicaltrials.gov/ct2/show/NCT04621461) is examining the effects of
50 mg/day zinc (as zinc sulfate) in adults aged 60 years or older or aged 30 to 59
years with an underlying health condition with COVID-19 who are not hospitalized
but have a high risk of complications due to their age or underlying health
                                                                                        Ex. 3
                                                                                      Page 42
conditions Case
           [374].8:21-cv-03112-TDC
                  Another trial (https://clinicaltrials.gov/ct2/show/NCT04335084)
                                     Document 1-3 Filed 12/06/21 Page 44 of 90    is
investigating whether supplementation with zinc, vitamin C, vitamin D (doses not
speci ed), and hydroxychloroquine for 24 weeks helps prevent COVID-19 in about
     fi
600 medical workers aged 18 years and older [375].

Safety: Intakes up to 4–34 mg/day zinc in foods and dietary supplements for
infants and children, depending on age, and up to 40 mg/day for adults are safe
[347]. These upper limits, however, do not apply to individuals receiving zinc
treatment under the care of a physician. Higher intakes can cause nausea, vomiting,
loss of appetite, abdominal cramps, diarrhea, and headaches [347]. Chronic
consumption of 150–450 mg/day can cause low copper status, reduced immune
function, and reduced levels of high-density lipoproteins [376]. In clinical trials
among children, zinc supplementation to treat diarrhea increased the risk of
vomiting more than placebo [377,378].

Zinc supplementation might interact with several types of medications. For
example, zinc can reduce the absorption of some types of antibiotics, as well as
penicillamine, a drug used to treat rheumatoid arthritis [379,380]. In addition, some
medications, such as thiazide diuretics and certain antibiotics, can reduce zinc
absorption [381,382].

More information on zinc is available in the ODS health professional fact sheet on
zinc (https://ods.od.nih.gov/factsheets/Zinc-HealthProfessional/).

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